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VAN−117 Hearing Conference Worksheet − Rev. 07/10/2018


Date:_____________________                  Time: _____________________       Place: _____________________

Date:_____________________                  Time: _____________________       Place: _____________________

Date:_____________________                  Time: _____________________       Place: _____________________

IN RE:
Ginger Judge Tew                                           CASE NO.: 19−02511−5−SWH
1879 White Lake Drive
PMB 7261                                                   DATE FILED: June 3, 2019
Elizabethtown, NC 28337
                                                           CHAPTER: 13
Wilmington Division




                                         HEARING/CONFERENCE WORKSHEET

Matter to be heard:

7 − DEFICIENCY NOTICE to Ginger Judge Tew re: Petition. The petition is deficient as follows: The certificate of
completion of a pre−petition credit counseling course was omitted for debtor. All deficiencies should be corrected by
the date indicated. Failure to do so may result in the petition being dismissed or scheduled for a show cause hearing.
Due by 6/10/2019. (Donnery, Erin)
Show Cause for failure to file Certificate of Credit Counseling

Ginger Judge Tew
1879 White Lake Drive
PMB 7261
Elizabethtown, NC 28337
910−990−1987

Joseph A. Bledsoe III
PO Box 1618
New Bern, NC 28563
252 633−0074


DATED: June 11, 2019
